Case 1:O4-cr-10061-.]DT Document 151 Filed 05/24/05 Page 1 of 2 Page|D 174

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IN THE UNITED STATES DISTRICT COURT 05

FOR THE WESTERN DISTRICT oF TENNESSEE ”'4?`, Q/i
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UNITED sTATEs oF AMERICA, § 5`€;"»:/`/’)/`)? 3 /5
“Y/` dc ”"é/' 0//’»3§;)4
Piaimiff, /71/'67 0 00
vs. No.04_10061-'r SCH/ '
GARY WAYNE GUEST,
LoRi ANN BUCKINGHAM,
PATRJCK PEARsoN,

TINA PEARSON, and
TRAVIS LYNN MCCOY,

Defendants.

AMENDED QR_DER CONTINUING REPORT DATEl
TRIAL AND EXCLUDING DELAY

The government has moved for a continuance of the report date in this case Which is set for
May 24, 2005, and the trial Which is currently set on June 6, 2005. Since counsel for the
government is scheduled to attend a Federal Prosecution course out of town, that motion is hereby
granted Counsel for defendant Lori Ann Buckingham has also requested a continuance of the report
date and trial because additional time to prepare is necessary. Therefore, both motions are granted
and the trial of this action is continued and has been reset for June 20, 2005.

The court finds that the unavailability of the government’s counsel and the govemment’s
need for continuity of counsel justify this continuance and the ends of justice served by the
continuance outweigh the best interests of the public and the defendant in a speedy trial. In addition,
defendant Buckingham’s need for additional time to prepare justifies this continuance and the ends
of justice served by the continuance outweigh the best interests of the public and the defendant in a
speedy trial. Accordinglv. the trial is continued from June 6. 2005. to June 20. 2005. at 9:30 A.M
The resulting period of delay, from June 6, 2005, to June 20, 2005, is excluded pursuant to 18
U.S.C. § 3161(h)(8)(A). A new report date has been set for June 6, 2005, at 9:00 a.m.

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JAME . TODD
UNIT STATES DISTRICT IUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 151 in
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May 24, 2005 to the parties listed.

 

 

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Honorable J ames Todd
US DISTRICT COURT

